UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ENERGY TRANSPORTATION GROUP, INC.                             :

                                            Plaintiff,        :

                 -against-                                    :    Case No. 1:21-cv-10969-AT-JW

BOREALIS MARITIME LIMITED,                                    :    Oral Argument Is Requested

                                            Defendant.        :

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     PLAINTIFF’S NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT

        PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 56, Local Rule 56.1 of the Local

Rules of the Southern and Eastern Districts of New York, and the Individual Practice Rules in

Civil Cases of the Honorable Analisa Torres, United States District Judge; and upon the

accompanying Memorandum of Law, the Declaration of Lloyd S. Clareman dated August 5, 2024

and exhibits thereto, the Declaration of Alexander Evans dated June 10, 2024, Plaintiff’s Local

Rule 56.1 Statement, and the prior pleadings and proceedings herein, Plaintiff Energy

Transportation Group, Inc. moves this Court, before the Honorable Analisa Torres, United States

District Judge, for an Order (a) finding Defendant liable for breach of contract for its failure to pay

Plaintiff its contractual share of carried interest in respect of Embarcadero Maritime Fund 1, and

granting partial summary judgment to Plaintiff as to liability; (b) striking Defendant’s affirmative

defense based upon the statute of limitations; and (c) for such other and further relief, as specified

in Fed. R. Civ. P. 56(f-g) or otherwise, as the Court may deem just and proper.
Dated: New York, New York
       August 5, 2024
                                LLOYD S. CLAREMAN

                                By: /s/ Lloyd S. Clareman
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                                New York, NY 10065
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                                Attorney for Plaintiff
                                Energy Transportation Group, Inc.




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